                      Case 1:22-mj-00083-GMH Document 1 Filed 04/20/22 Page 1 of 1
AO 91 (Rev. 11/11) Criminal Complaint



                                        UNITED STATES DISTRICT COURT
                                                                  for the
                                                            District of &ROXPELD

                  United States of America                           )
                             v.                                      )
                                                                     )      Case No.
                   Barry Bennet Ramey
                                                                     )
                    DOB: XXXXXX                                      )
                                                                     )
                                                                     )
                          Defendant(s)


                                                  CRIMINAL COMPLAINT
          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                     January 6, 2021              in the county of                              in the
                         LQWKH'LVWULFWRI       &ROXPELD , the defendant(s) violated:

             Code Section                                                     Offense Description
        18 U.S.C. §§§ 1752(a)(1), (2), (4), and (b)(1))(A) - Enter or Remain in a Restricted Building or Grounds with
        Intent to Impede or Disrupt and Knowingly Engages in an Act of Physical Violence While Using or Carrying
        a Deadly or Dangerous Weapon;
        40 U.S.C. § 5104(e)(2)(F) - Act of physical violence in the Grounds or Capitol Buildings;
        18 U.S.C. §§ 111(a)(1) and 111(b) - Assault of Federal Law Enforcement Officer with a Deadly or
        Dangerous Weapon;
        18 U.S.C. 231(a)(3) - Obstruct, Impede, or Interfere with Law Enforcement Officer.
          This criminal complaint is based on these facts:
  6HHDWWDFKHGVWDWHPHQWRIIDFWV




         9
         u   Continued on the attached sheet.


                                                                                               Complainant’s signature

                                                                                       Ryan Nougaret, Special Agent
                                                                                               Printed name and title
$WWHVWHGWRE\WKHDSSOLFDQWLQDFFRUGDQFHZLWKWKHUHTXLUHPHQWVRI)HG5&ULP3
E\WHOHSKRQH                                                                                            Digitally
                                                                                                         signed by G.
Date:             04/20/2022                                                                             Michael Harvey
                                                                                                  Judge’s signature

City and state:                         :DVKLQJWRQ'&                          G. Michael Harvey, U.S. Magistrate Judge
                                                                                               Printed name and title
